DocuSign Envelope ID: 303F6D27-23F1-4EAA-8A1B-A60CEE56C185
                              Case 23-11069-CTG             Doc 1252        Filed 11/30/23        Page 1 of 7




                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE


                In re:                                                        Chapter 11

                YELLOW CORPORATION, et al.,1                                  Case No. 23-11069 (CTG)

                                                 Debtors.                     (Jointly Administered)

                                                                              Related D.I.: 852, 855, 856



                  SECOND SUPPLEMENTAL DECLARATION OF DISINTERESTEDNESS OF
             NATIONS CAPITAL, LLC IN SUPPORT OF MOTION OF DEBTORS FOR ENTRY OF
                  AN ORDER (I) APPROVING THE AGENCY AGREEMENT WITH NATIONS
             CAPITAL LLC, RITCHIE BROS. AUCTIONEERS (AMERICA), INC., IRONPLANET,
                 INC., RITCHIE BROS. AUCTIONEERS (CANADA) LTD., AND IRONPLANET
              CANADA LTD. EFFECTIVE AS OF OCTOBER 16, 2023; (II) AUTHORIZING THE
                SALE OF ROLLING STOCK ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
               INTERESTS AND ENCUMBRANCES; AND (III) GRANTING RELATED RELIEF

            I, Jim Burke, declare under penalty of perjury:

                         1.    I am an Executive Vice President at Nations Capital, LLC (“Nations Capital”) and

            am duly authorized to execute this supplemental declaration (the “Second Supplemental

            Declaration”) on behalf of Nations Capital.

                         2.    On October 16, 2023, the Debtors filed the Motion of Debtors for Entry of an Order

            (I) Approving the Agency Agreement with Nations Capital, LLC, Ritchie Bros. Auctioneers

            (America), Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd., and IronPlanet Canada

            Ltd. Effective as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock Assets Free of

            Liens, Claims, Interests and Encumbrances; and (III) Granting Related Relief [Docket No. 853]




            1
                  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
                  claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
                  of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
                  Overland Park, Kansas 66211.
DocuSign Envelope ID: 303F6D27-23F1-4EAA-8A1B-A60CEE56C185
                           Case 23-11069-CTG            Doc 1252        Filed 11/30/23       Page 2 of 7




            (the “Application”), which was approved by the Court2 on October 27, 2023 [Docket No. 981] (the

            “Order”).

                     3.      As part of the Application, the Debtors filed the Declaration of Disinterestedness

            of Nations Capital, LLC, Ritchie Bros. Auctioneers (America), Inc., IronPlanet, Inc., Ritchie Bros.

            Auctioneers (Canada) Ltd., and IronPlanet Canada Ltd. [Docket No. 856] (the “Original

            Declaration”), in which the Agent provided certain disclosures regarding its connections with

            various parties in interest involved in these chapter 11 cases.

                     4.      In response to a request from the United States Trustee (the “U.S. Trustee”) for

            additional disclosures, on October 27, 2023, the Debtors submitted the Supplemental Declaration

            of Disinterestedness of Nations Capital, LLC in Support of the Application [Docket No. 974] (the

            “Supplemental Declaration”).

                     5.      At the hearing held on October 27, 2023, to consider the Application, the U.S.

            Trustee requested further disclosures specifically regarding the connections of Nations Capital’s

            majority equityholder, Gordon Brothers Group, LLC (“Gordon Brothers”). Nations Capital is

            submitting this Second Supplemental Declaration to provide additional information regarding

            Gordon Brothers’ connections with Potential Parties in Interest.

                                       Gordon Brothers’ Connections Check Process

                     6.      In the ordinary course of business, Gordon Brothers maintains a database with

            information regarding all of its present and past contractual relationships and transactions. I

            obtained from counsel to the Debtors a list with the names of each of the Potential Parties in Interest

            and shared the list with Gordon Brothers personnel. A search of the aforementioned database was


            2
                Capitalized terms not otherwise defined herein are defined as in the Application or Supplemental Declaration
                (each as defined herein), as applicable.



                                                                   2
DocuSign Envelope ID: 303F6D27-23F1-4EAA-8A1B-A60CEE56C185
                           Case 23-11069-CTG            Doc 1252    Filed 11/30/23      Page 3 of 7




            conducted for purposes of determining what, if any, connections Gordon Brothers and other

            companies controlled by Gordon Brothers may have with any Potential Parties In Interest.

                      7.     Based on the results of the connections search, to the best of my knowledge and

            belief, during the last two (2) years, Gordon Brothers has not had any connection with the Debtors

            or any Potential Parties In Interest, except as disclosed on Schedule 1 hereto or otherwise described

            herein.

                      8.     Gordon Brothers and certain of its affiliates have previously, are currently, and may

            in the future appear or participate (as agent, consultant, appraiser, professional, advisor, investor,

            lender, principal or otherwise) in numerous cases, proceedings, transactions and engagements,

            with, among other market participants, professionals, advisors, banks and other lenders, landlords,

            restructuring firms, liquidation firms, vendors, insurance carriers and brokers, operating

            companies, and equity and/or debt holders, each of whom may be involved in these proceedings,

            may represent Parties In Interest in these cases, and/or may be Parties In Interest in these cases

            (“Ordinary Course Interactions”). Except as disclosed herein, none of the Ordinary Course

            Interactions are believed to be matters directly connected or relating to the Debtors or this chapter

            11 case, nor does Gordon Brothers believe that any of the Ordinary Course Interactions will

            interfere with or impair Nations Capital’s activities, actions, responsibilities or objectives, or be

            adverse to the interests of the Debtors and their estates in these cases.

                      9.     Without limiting the generality of the foregoing paragraph, it is possible that one or

            more law firms engaged by the Debtors or other Potential Parties In Interest, including Choate Hall

            & Stewart LLP, have previously or are currently representing Gordon Brothers or its affiliates in

            matters unrelated to the Debtors or these chapter 11 cases, and that such representations are not

            necessarily reflected in Gordon Brothers’ database for purposes of performing “conflicts checks.”


                                                               3
DocuSign Envelope ID: 303F6D27-23F1-4EAA-8A1B-A60CEE56C185
                           Case 23-11069-CTG            Doc 1252    Filed 11/30/23    Page 4 of 7




            Except as may be disclosed herein, any such law firm’s representation of Gordon Brothers or its

            affiliates is unrelated to the Debtors and these chapter 11 cases.

                     10.     The disclosures identified herein are based upon my knowledge and belief after

            reasonable inquiry by (and discussion with) Gordon Brothers personnel. If, at some point during

            the Debtors’ chapter 11 cases, Gordon Brothers engages in a transaction involving a Potential Party

            in Interest or discovers any additional facts bearing on the matters described herein, Nations

            Capital will submit a supplemental disclosure to the Court.

                     11.     For the reasons set forth in the Original Declaration, the Supplemental Declaration,

            and this Second Supplemental Declaration, I believe that Nations Capital (a) is a disinterested

            person as defined in the Bankruptcy Code and (b) does not hold or represent any interest adverse

            to the Debtors’ estates.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

            and correct.



                                                     [Signature page follows]




                                                                4
DocuSign Envelope ID: 303F6D27-23F1-4EAA-8A1B-A60CEE56C185
                           Case 23-11069-CTG            Doc 1252   Filed 11/30/23   Page 5 of 7




            Date: November 29, 2023

            NATIONS CAPITAL, LLC


            __________________________
            By: Jim Burke
            Title: Authorized Signatory




                                                              5
DocuSign Envelope ID: 303F6D27-23F1-4EAA-8A1B-A60CEE56C185
                           Case 23-11069-CTG            Doc 1252       Filed 11/30/23    Page 6 of 7




                                                             Schedule 1

                        Potential Party-In-Interest                     Gordon Brothers Relationship Type
              ALIX PARTNERS                                          Professional dealings/business opportunities
              ALL AMERICAN                                           Appraised assets (All American Rigging Co.)
              ALVAREZ & MARSAL                                       Professional dealings/business opportunities
              ANDERSON PUMP SERVICE INC                              Appraised assets
              ARANDELL CORPORATION                                   Appraised assets
              AVAYA INC.                                             Appraised assets
              AXOS BANK                                              Professional dealings/business opportunities
              BANK OF AMERICA, N.A.                                  Professional dealings/business opportunities
              CHOATE HALL & STEWART LLP                              Counsel on unrelated matters
              CITIZENS BANK N.A.                                     Professional dealings/business opportunities
              CITIZENS BUSINESS CAPITAL                              Professional dealings/business opportunities
              CT CORPORATION                                         Vendor relationship
              CTI                                                    Appraised assets (CTI Industries Corp)
              CTS                                                    Appraised assets (CTS Engines, LLC)
              DESIGNER BRANDS INC                                    Appraised assets
              DRIVE LOGISTICS                                        Appraised assets
              DUCERA PARTNERS                                        Professional dealings/business opportunities
              EAST WEST BANK                                         Professional dealings/business opportunities
              ELITE TOWING                                           Appraised assets
              ERNST & YOUNG LLP                                      Professional dealings/business opportunities
              FEDEX                                                  Vendor relationship
              FIRST BRANDS GROUP                                     Appraised assets
              FLOYD INC                                              Appraised assets
              FTI                                                    Professional dealings/business opportunities
              GLEASON INDUSTRIAL PRODUCTS                            Professional dealings/business opportunities
              HOLLAND & KNIGHT LLP                                   Professional dealings/business opportunities
              HURON CONSULTING                                       Professional dealings/business opportunities
              JPMORGAN CHASE BANK N.A.                               Professional dealings/business opportunities
              KEYBANK NATIONAL ASSOCIATION                           Professional dealings/business opportunities
              KIRKLAND & ELLIS                                       Counsel on unrelated matters
              MAG CARRIERS LLC                                       Appraised assets
              MARSH USA INC                                          Insurer/insurance broker
              MCDERMOTT, WILL, & EMERY LLP                           Professional dealings/business opportunities
              MORGAN, LEWIS & BOCKIUS LLP                            Professional dealings/business opportunities
              MOTUS LLC                                              Appraised assets
              MVT                                                    Appraised assets (MVT Leasing, LLC)
              NORTHERN TOOL & EQUIPMENT                              Appraised assets
              OFFICE DEPOT                                           Professional dealings/business opportunities
              ORANGE EV LLC                                          Appraised assets
              PACHULSKI STANG ZIEHL & JONES                          Counsel on unrelated matters
              PARTY CITY                                             Professional dealings/business opportunities

                                                                 6
DocuSign Envelope ID: 303F6D27-23F1-4EAA-8A1B-A60CEE56C185
                           Case 23-11069-CTG            Doc 1252    Filed 11/30/23     Page 7 of 7




              PEOPLE'S UNITED BANK NA                             Professional dealings/business opportunities
              PNC BANK NATIONAL ASSOCIATION                       Professional dealings/business opportunities
              PRICEWATERHOUSECOOPERS LLP                          Professional dealings/business opportunities
              PROVINCE                                            Professional dealings/business opportunities
              QUICKBASE INC                                       Vendor relationship
              RITE AID                                            Professional dealings/business opportunities
              RONA                                                Appraised assets (Rona, Inc.)
              SME                                                 Professional dealings/business opportunities
              SPREETAIL LLC                                       Professional dealings/business opportunities
              STAPLES INC                                         Professional dealings/business opportunities
              STERLING NATIONAL BANK                              Professional dealings/business opportunities
              SUPERIOR ROAD STRIPING INC                          Appraised assets
              TD BANK                                             Professional dealings/business opportunities
              VITAL PHARMACEUTICALS, INC                          Professional dealings/business opportunities
              WEBSTER BANK                                        Professional dealings/business opportunities
              WELLS FARGO                                         Professional dealings/business opportunities
              WINTRUST EQUIPMENT FINANCE                          Professional dealings/business opportunities




                                                              7
